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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                8:17CR127
                                            )
      vs.                                   )
                                            )
ROBERTO CERVANTES-ZAVALA,                   )                  ORDER
CARLOS RAMOS,                               )
                                            )
                   Defendants.


      This matter is before the court on the defendant Carlos Ramos’ Unopposed
Motion to Continue Trial [39]. Counsel needs additional time to conduct plea
negotiations. The defendant has complied with NECrimR 12.1(a) at filing [37]. For
good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [39] is granted, as follows:

      1. The jury trial, for both defendants, now set for December 5, 2017, is
         continued to January 9, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and January 9, 2018, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED: November 20, 2017.

                                   BY THE COURT:


                                   s/ Michael D. Nelson
                                   United States Magistrate Judge
